                              Case 3:16-cv-00237-RCJ-CLB Document 267 Filed 11/10/21 Page 1 of 2


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                              WESTERN RANGE ASSOCIATION                                     ABEL CANTARO CASTILLO

                         9
                                                              IN THE UNITED STATES DISTRICT COURT
                       10
                                                                    FOR THE DISTRICT OF NEVADA
                       11
                               ABEL CANTARO CASTILLO; ALCIDES INGA                      Case No. 3:16-cv-00237-RCJ-CLB
                       12      RAMOS; RAFAEL DE LA CRUZ; and those
                               similarly situated,
                       13

                       14                                 Plaintiffs,                        ORDER GRANTING
                               vs,                                                         STIPULATION TO EXTEND DEFENDANT
                       15                                                                    WESTERN RANGE ASSOCIATION'S
                               WESTERN RANGE ASSOCIATION; ELTEJON                           OPPOSITION TO MOTION FOR CLASS
                       16      SHEEP COMPANY; MELCHOR GRAGIRENA;                         CERTIFICATION AND PLAINTIFF'S REPLY TO
                               MOUNTAIN PLAINS AGRICULTURAL SERVICE;                                     SAME
                       17
                               and ESTILL RANCHES, LLC,
                       18                                                                                 FIRST REQUEST
                                                 Defendants,
                       19

                      20               Defendant, WESTERN RANGE ASSOCIATION ("Western Range"), by and through its counsel

                      21      of record, ELLEN JEAN WINOGRAD and KELSEY GUNDERSON of WOODBURN and WEDGE and

                      22      Plaintiff, ABEL CANTARO CASTILLO by and through his counsel of record, CHRISTINE WEBBER and

                      23      MEGAN REIF of COHEN MILSTEIN SELLERS & TOLL, PLLC, respectfully submit this Stipulation and

                      24      Order.

                      25               The parties stipulate to:

                      26               1. Extend Defendant Western Range Association's Deadline to file its Opposition to Plaintiff's

                      27      Motion for Class Certification currently due on November 12,2021 to and including November 22,2021;

                      28               2. To extend Plaintiff's deadline to file its Reply to Opposition to Motion for Class Certification
WOODBURN AND WEDGE
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                             Case 3:16-cv-00237-RCJ-CLB Document 267 Filed 11/10/21 Page 2 of 2


                        1             The reasons for such extension are Plaintiff's extensive and lengthy Motion for FRCP 23(b)

                        2    Class Certification (41 pages) and the 64+ exhibits attached thereto; the fact that the parties just

                        3    received Plaintiff's expert's (expedited) deposition transcript on November 8, 2021 , and this week's mid-

                        4    week holiday is leading to a staffing shortage on Thursday, Plaintiff seeks the additional time because,

                        5    under this stipulation, Defendant's Opposition brief will be filed on November 22, and Plaintiff's counsel

                        6    will be unavailable later that week due to the Thanksgiving holiday. Plaintiff's counsel's office will be

                        7    closed from mid-day Wednesday, November 24 through Sunday, November 28.

                        8             This is the parties first request for an extension for Defendant to respond to Plaintiff's FRCP 23

                        9    (b) Motion and Plaintiff's deadline to Reply to Defendant's Opposition and is made in good faith and not

                      10     for purposes of delay.
                                                               Affirmation Pursuant to NRS 239B.030
                      11
                                     The undersigned hereby affirms that the preceding document does not contain the personal
                      12     information of any individual.
                                      RESPECTFULLY SUBMITTED,
                      13
                              DATED this 8? day of November, 2021.                   DATED this 8<h day of November, 2021.
                      14
                              COHEN MILSTEIN SELLERS & TOLL PLLC                     WOODBURN AND WEDGE
                      15

                      16
                               /s/ 'Christine U}e66er, <Esq.                          /s/(E[[en Jean '[Vinow'ad, CEsq.
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                     21      Attorneys for Plaintiff                                 Attorneys for Defendant
                              ABEL CANTARO CASTILLO                                  WESTERN RANGE ASSOCIATION
                      22

                     23       IT IS SO ORDERED.
                     24       DATED this10th
                                         _ day of November, 2021.

                      25

                     26       Submitted by:                                          UNITED STATES DISTRICT JUDGE
                     27       ^L/2L.<!
                              ELL^M JEAN W^IOGRAD
                      28
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